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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

ENTERTAINMENT ONE UK LTD. )
) Case No. 18-cv-04461
)
Plaintiff, ) Judge Harry D. Leinenweber
)
v. ) Magistrate Judge Mary M. Rowland
)
2012SHILIANG, et al., )
Defendants. )
)

 

SATISFACTION OF JUDGMENT
WHEREAS, a judgment was entered in the above action on October 23, 2017 [75], in
favor of Plaintiff Entertainment One UK Ltd. (“Plaintiff”) and against the Defendants Identified
in Schedule Ain the amount of one million dollars ($1,000,000) per Defaulting Defendant, and
Plaintiff acknowledges payment of an agreed upon damages amount, costs, and interest and
desires to release this judgment and hereby fully and completely satisfy the same as to the

following Defendant:

 

Defendant Name Line No.

 

 

 

 

Novelty clothing stores 264

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 10th day of May 2019.

   

Amy C. Ziggler VTE

Justin R. Gaudio

Allyson M. Martin

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Counsel for Plaintiff Entertainment One UK Ltd.

Subscribed and sworn to me by Allyson.M. Martin, on this 10th day of May 2019.

Given under by hand and notarial seal.

  
   

   

CAITLIN SCHLIE
Official Seal

Notary Public - State of tt

My Commission Expires Nov

linois
20, 2021

 
  

  

(Yili. Sk

Notary Public

 

State of Illinois
County of Cook
